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ron THE wEs'rERN DISTRICT oF TENNESSEE _

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Plaintiff,
vs cR. No. 02-20268-D

ALBERT BROWN

Defendant.

 

ORDER OF DISMISSAL

 

'I‘his cause came on for a final revocation hearing on July 18,
2005, the.Assistant United States Attorney for this District, Linda
Harris, representing the Government, and the defendant, Albert
Brown, appearing in person and With counsel, Doris Randle-Holt.

After hearing Counsel, the defendant and the probation
officer's statements, the Court finds that the defendant has
successfully Completed the terms of Supervised Release.

IT IS HEREBY ORDERED AND ADJUDGED that the period Of
Supervised Release is terminated and the Petition on Supervised
Release is DISMISSED.

ENTERED this the ga day of July, 2005.

     

RNICE B DONALD
ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:02-CR-20268 Was distributed by faX, mail, or direct printing on
July ]9, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

